                            EXHIBIT D




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Exhibit D
                                            Ark Laboratory LLC
                                        Six Year Transfers - Grossi
                                         December 1, 2020 - April 12, 2021

                                                                        Amount
Total for 15000 Jim Grossi                               $                            50,000.00
Total for 19100 Loan Closing Costs                                                    22,500.00
Total for 23025 Jim Grossi - Draw                                                   1,079,500.00
Total for 58000 Transaction Costs                                                     40,000.00


                                                         $                       1,192,000.00




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